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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                            May 07, 2024
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                           §
In re:                     §                                  Chapter 11
                           §
STEWARD HEALTH CARE SYSTEM §                                  Case No. 24-90213 (CML)
LLC, et al.,               §
                           §                                  (Jointly Administered)
             Debtors.1     §
                           §

                         ORDER EXTENDING TIME FOR
                DEBTORS TO FILE (A) SCHEDULES OF ASSETS AND
                LIABILITIES, (B) SCHEDULES OF CURRENT INCOME
               AND EXPENDITURES, (C) SCHEDULES OF EXECUTORY
              CONTRACTS AND UNEXPIRED LEASES, (D) STATEMENTS
         OF FINANCIAL AFFAIRS, AND (E) RULE 2015.3 FINANCIAL REPORTS

                 Upon the motion, dated May 6, 2024 (the “Motion”)2 of Steward Health Care

System LLC and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), for entry of an order, pursuant to section 521 of the

Bankruptcy Code and Bankruptcy Rules 1007(c) and 9006(b), (i) extending the deadline by which

Debtors must file their Schedules and Statements by an additional 46 days, for a total of 60 days

from the Petition Date, without prejudice to the Debtors’ ability to request additional extensions;

and (ii) extending the deadline by which the Debtors must (a) file their initial 2015.3 Reports or

(b) file a motion with the Court seeking a modification of such reporting requirements, all as more

fully set forth in the Motion; and this Court having jurisdiction to consider the Motion and the

relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the



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    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
    claims and noticing agent at https://restructuring.ra.kroll.com/Steward. The Debtors’ service address for these
    chapter 11 cases is 1900 N. Pearl Street, Suite 2400, Dallas, Texas 75201.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Motion.
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requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that

venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper

notice of the Motion having been provided; and such notice having been adequate and appropriate

under the circumstances, and it appearing that no other or further notice need be provided; and this

Court having reviewed the Motion; and upon any hearing held on the Motion; and all objections,

if any, to the relief requested in the Motion having been withdrawn, resolved, or overruled; and

upon consideration of the First Day Declaration; and the Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein; and it

appearing that the relief requested in the Motion is in the best interests of the Debtors, their

respective estates, creditors, and all parties in interest; and upon all of the proceedings had before

this Court; and after due deliberation and sufficient cause appearing therefor,

               IT IS HEREBY ORDERED THAT

               1.      The day by which the Debtors must file their Schedules and Statements is

extended through and including July 9, 2024. The Debtors may obtain a further extension of the

time periods set forth in this paragraph by further order of the Court or entering into a stipulation

with the U.S. Trustee and filing such stipulation on the Court’s docket without the need for further

Court order.

               2.       The Debtors are granted an extension until the later of (i) 15 days after the

initial 341 Meeting; and (ii) 60 days from the Petition Date, to file their initial 2015.3 Reports or

to file a motion seeking a modification of such reporting requirements, for cause.

               3.      Such extensions are without prejudice to the Debtors’ rights to request

further extensions.

               4.      All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

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               5.      The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Order.

               6.      This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                          , 2024
           August
         Houston,
           May      02, 2019
               07,Texas
                   2024

                                              Christopher Lopez
                                              United States Bankruptcy Judge




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